       Case 1:22-cv-06909-NRB   Document 3   Filed 04/11/23   Page 1 of 2




    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    -------------------------------------X
    JOHN RYAN,

                           Plaintiff,
                                                              ORDER
              - against –
                                                     22 Civ. 6909 (NRB)
    AUTOWEB, INC., MICHAEL J. FUCHS,
    MATIAS DE TEZANOS, MARK N. KAPLAN,
    JARED R. ROWE, JANET M. THOMPSON, AND
    JOSE VARGAS,

                         Defendants.
    -------------------------------------X
    NAOMI REICE BUCHWALD
    UNITED STATES DISTRICT JUDGE

       WHEREAS, the complaint, which challenged the acquisition of

AutoWeb, Inc. by a subsidiary of One Planet Group, LLC through a

tender offer, was filed on August 14, 2022; and

       WHEREAS, there has been no proof of service on any defendant;

and

       WHEREAS, it has been reported in the press that the tender

offer was completed on August 30, 2022; 1 it is hereby

       ORDERED that the above-captioned action be, and hereby is,

dismissed.




1 See
https://www.sec.gov/Archives/edgar/data/1023364/000185173422000519/ex_418551.
htm.
     Case 1:22-cv-06909-NRB   Document 3   Filed 04/11/23   Page 2 of 2




DATED:    New York, New York
          April 11, 2023



                                 ________________________________
                                       NAOMI REICE BUCHWALD
                                   UNITED STATES DISTRICT JUDGE
